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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

Charles Williams                               :
3907 Northampton Road                          :
Cleveland Heights, Ohio 44121                  :
                                               :
               Plaintiff,                      :   Case No. 1:23-CV-69
                                               :
       v.                                      :   COMPLAINT
                                               :   (Jury Demand Endorsed Hereon)
The Cleveland Clinic Foundation                :
d/b/a The Cleveland Clinic Health System       :
Agent for Service of Process                   :
CT Corporation System                          :
4400 Easton Commons Way, Suite 125             :
Columbus, Ohio 43219                           :
                                               :
       and                                     :
                                               :
Cleveland Clinic Rehabilitation Hospitals, LLC :
Agent for Service of Process                   :
CT Corporation System                          :
4400 Easton Commons Way, Suite 125             :
Columbus, Ohio 43219                           :
                                               :
       and                                     :
                                               :
Select Medical Corporation                     :
3020 Science Park Drive                        :
Beachwood, Ohio 44122                          :
                                               :
       and                                     :
                                               :
Midwest Medical Transport Company, LLC         :
Agent for Service of Process                   :
Registered Agent Solutions, Inc.               :
4568 Mayfield Road, Suite 204                  :
Cleveland, Ohio 44121                          :
                                               :
       And                                     :
                                               :
Unknown Medical Transport                      :
                                               :
               Defendants.                     :

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                                NATURE OF THE ACTION

1.   This is a civil rights action brought for violations of the Americans with Disabilities Act,

     Section 504 of the Rehabilitation Act, and Chapter 4112 of the Ohio Revised Code.

     Plaintiff Charles Williams (“Plaintiff”) is profoundly deaf, and he relies on Defendant CCF

     Cleveland Clinic Foundation, d/b/a The Cleveland Clinic Health System (“Defendant

     CCF”), for medical treatment and care. Because Plaintiff is profoundly deaf, he receives a

     lower tier of medical care from Defendant CCF. Despite its status as a major health care

     system, and numerous requests from Plaintiff, Defendant CCF has repeatedly failed to

     provide Plaintiff with legally required American Sign Language interpretation services

     during his medical care. By not providing these services, Defendant CCF exposed, and

     continues to expose, Plaintiff to the inability to understand and make educated decisions

     regarding his own medical care in addition to the fear and anxiety of facing a disparate risk

     of medical mistreatment.

2.   Plaintiff brings this action to compel Defendants to cease their unlawful discriminatory

     practices by implementing policies and procedures that will ensure him effective

     communication, full and equal enjoyment of Defendants’ medical services, and a

     meaningful opportunity to participate in and benefit from those services.

                                          PARTIES

3.   Plaintiff has been, is and will be a patient of Defendants. Plaintiff resides in Cleveland

     Heights, Ohio within the Northern District of Ohio, Eastern Division.

4.   Defendant CCF is an Ohio nonprofit corporation that provides medical and hospital care

     primarily in northeast Ohio. Defendant CCF operates its main facility located at 9500

     Euclid Avenue, Cleveland, Ohio 44195. Defendant CCF also operates Hillcrest Hospital



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      located at 6780 Mayfield Road, Mayfield Heights, Ohio 44124. Defendant CCF also

      operates Euclid Hospital located at 18901 Lakeshore Boulevard, Euclid, Ohio 44119.

5.    Defendant Cleveland Clinic Rehabilitation Hospitals, LLC (“Defendant Rehabilitation

      Hospitals”) operates inpatient rehabilitation facilities, including a facility located at 3025

      Science Park Drive, Beachwood, Ohio 44122. Defendant Rehabilitation Hospitals owns

      fifty-one percent (49%) of the Beachwood facility.

6.    Defendant Select Medical Corporation (“Defendant Select”) provides post-acute care

      hospitals, including a facility located at 3025 Science Park Drive, Beachwood, Ohio 44122.

      Defendant Select owns forty-nine percent (51%) of the Beachwood facility.

7.    Defendant Midwest Medical Transport Company, LLC (“Defendant MMT”) offers

      ambulance transportation services throughout the Midwest, including the Cleveland area.

8.    Defendant Unknown Medical Transport (“Unknown Defendant”) offers ambulance

      transportation services throughout the Cleveland area.

                               JURISDICTION AND VENUE

9.    This Court has subject matter jurisdiction over Counts I and II pursuant to 28 U.S.C. §

      1331 because the claims are set forth pursuant to the laws of the United States of America.

10.   The Court has supplemental jurisdiction over Count III, Plaintiff’s state law claim, pursuant

      to 28 U.S.C. § 1367, because the claim arises out of the same set of operative facts.

11.   Venue is proper pursuant to 28 U.S.C. § 1391 as the events giving rise to the causes of

      action occurred in Cuyahoga County, Ohio, within the Northern District of Ohio, Eastern

      Division.

                           FACTS COMMON TO ALL COUNTS

12.   Plaintiff is profoundly deaf.



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13.     Plaintiff has been deaf since the late 1960’s. Plaintiff became hard of hearing around 1943,

        when he was twelve (12) years old. By 1969, audiologists confirmed that Plaintiff could

        no longer hear or understand spoken word.

14.     Plaintiff communicates by American Sign Language (“ASL”), which is his first language.

        ASL is a separate language from English with its own syntax, sentence structure, and

        grammatical system. Plaintiff has advised Defendant CCF’s employees and representatives

        many times that ASL is his needed and most effective means of communication.

15.     Because of the educational barriers that deaf people confronted when he was younger,

        Plaintiff could not pursue a legal career as he had aspired to do.

16.     For 35 years, Plaintiff worked for the Cuyahoga County Engineer’s Office.

17.     Patricia Cangelosi-Williams, Plaintiff’s wife, works as a certified professional ASL

        interpreter.

18.     Though Ms. Cangelosi-Williams works as an interpreter, Defendant CCF cannot legally

        require her to interpret at Plaintiff’s medical appointments. 1 Nor would it be medically

        advisable to have Ms. Cangelosi-Williams interpret. Family members are too personally

        and emotionally involved to act impartially, which is a necessity for qualified ASL

        interpreters in medical settings.

19.     Plaintiff has advocated for the black, deaf community. Plaintiff cofounded the National

        Black Deaf Advocates, a nonprofit advocacy organization, and remains active in the

        organization.




1
 See 28 C.F.R. § 36.303(c)(2) (“A public accommodation shall not require an individual with a disability to bring
another individual to interpret for him or her.”; see, also, 28 C.F.R. § 36.303(c)(3) (generally barring public
accommodations from relying on someone who accompanied the individual with a disability to interpret).

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20.   In 1977, Plaintiff served as an Ohio delegate to the White House Conference on

      Handicapped Individuals.

21.   When Plaintiff sat on a jury in 1987, he became the first deaf juror in Ohio history. He also

      has served as the foreperson of a jury.

22.   Plaintiff has served as the Vice President of the National Association of Deaf Senior

      Citizens.

23.   Plaintiff chaired and led the development of the Cuyahoga County Community Mental

      Health Board’s Advisory Committee regarding deaf persons.

24.   In 2008, Gallaudet University awarded Plaintiff an honorary doctorate. Before then, he had

      served thirteen (13) years as a member of the Gallaudet University Board of Trustees.

      Gallaudet University is the world leader in higher liberal education and career development

      for deaf and hard-of-hearing students. Gallaudet University conducts research on the

      history, language, culture, and other topics related to the deaf community.

25.   Since retiring from the Cuyahoga County Engineer’s Office, Plaintiff has taught ASL at

      Baldwin Wallace University and Cleveland State University.

26.   Plaintiff chaired the grant-writing committee that later established Cleveland State

      University’s interpreter-training program.

27.   On or about November 30, 2021, Plaintiff had appointments for Radiology and Podiatry,

      both of which were located at Defendant CCF’s main hospital located at 9500 Euclid

      Avenue, Cleveland, Ohio 44195. Interpreters were requested and confirmed prior to both

      appointments.

28.   At the Radiology appointment, the interpreter did not show up as scheduled. The front desk

      confirmed that the interpreter was requested and was on the schedule. Ms. Cangelosi-



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      Williams asked the front desk to call Global Patient Services to determine why no

      interpreter showed up. Ms. Cangelosi-Williams interpreted for Plaintiff.

29.   At the Podiatry appointment, no interpreter showed up. The nurses brought in the VRI unit

      and attempted to set up the equipment, but were unsure how to use it. At that point, Plaintiff

      verbally and vehemently indicated that he not want to use the VRI; he requested an in-

      person interpreter. The staff responded, “Well, due to COVID, we are limiting interpreters

      from coming to the hospital.” Ms. Cangelosi-Williams interpreted for Plaintiff.

30.   Plaintiff’s age-related macular degeneration does not make VRI a viable option.

31.   On December 2, 2021, Plaintiff had to delay a vascular appointment due to lack of an

      interpreter, causing a two-week delay in care. VRI was offered but Ms. Cangelosi-Williams

      explained that VRI was not a viable option due to Plaintiff’s age-related macular

      degeneration.

32.   On or about December 8, 2021, Ms. Cangelosi-Williams spoke with Tara LNU in the

      Ombudsman Office concerning the delay in care for Plaintiff’s vascular appointment. Tara

      LNU was apologetic and appreciated Ms. Cangelosi-Williams’ feedback, but she explained

      that an in-person interpreter is not available with less than forty-eight (48) hours’ notice.

      VRI was offered but Ms. Cangelosi-Williams explained that VRI was not a viable option

      due to Plaintiff’s age-related macular degeneration.

33.   On or about December 10, 2021, Plaintiff had an appointment at Hillcrest Hospital.

      Plaintiff was told to arrive thirty (30) minutes early to complete paperwork, but the

      interpreter was not told to arrive early. The interpreter arrived at the scheduled appointment

      time. Reception desk staff indicated that they have told Global Patient Services to read to

      the bottom of the page when requesting interpreter, which states the interpreter should



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      arrive before the patient is scheduled to assist in filling out questionnaires or other

      paperwork prior to seeing the doctor in the room. Once the interpreter appeared, the

      interpreter reported the problem to Hannah LNU, the Global Patient Services Manager.

34.   On or about December 28, 2021, Plaintiff had an appointment with Podiatry. The podiatrist

      sent Plaintiff to Hillcrest emergency department for immediate treatment of a serious foot

      infection. An interpreter was available for the appointment at Podiatry, and the interpreter

      followed Plaintiff to the Hillcrest emergency department.

35.   Plaintiff was hospitalized at Hillcrest from December 28, 2021 through January 1, 2022.

      There were numerous times throughout his stay that Plaintiff did not have an interpreter or

      auxiliary device. Both Leah LNU from Vascular Surgery and Nurse Tiffiany Reidling

      wrote notes to Plaintiff during his medical care. Plaintiff was discharged from Hillcrest on

      January 1, 2022 upon the recommendation of an infectious disease doctor.

36.   On January 14, 2022, Plaintiff was readmitted to Hillcrest for intravenous (“IV”)

      medications for his ongoing infection. The treatment failed, requiring surgery on January

      19, 2022.

37.   On January 19, 2022, on the day of the surgery, Plaintiff’s treatment providers wrote notes

      to him instead of using an interpreter or auxiliary device.

38.   Plaintiff was inpatient at Hillcrest from January 14, 2022 through February 2, 2022 for

      treatment related to the infected foot and subsequent surgery. During the entire time,

      Plaintiff had problems accessing interpreters, sometimes during the day, but especially on

      second and third shifts. The Interpreting Coordinator, who was not on site, and staff did

      not use the VRI, which is not a viable option for Plaintiff. Plaintiff requested use of the

      Floor iPad, which listed Global Patient Services interpreters who were available and on



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      call 24/7. Instructions on accessing interpreters on the iPad were posted on the wall, as well

      as a sign that said, “I am Deaf, I do not hear. I speak for myself. I do not read lips. Use an

      interpreter.” There were many episodes, especially during the evening shifts, by nurses and

      aides who did not adhere to the arrangements and did not know how to access the iPad.

      Ms. Cangelosi-Williams received telephone calls during late evening hours asking how to

      use the iPad or requesting her to interpret. Also during his hospitalization, when Plaintiff

      pressed the nurse’s call button, someone would answer, “We’ll be right there,” despite

      knowing that Plaintiff is deaf. Ms. Cangelosi-Williams and Plaintiff’s daughter would be

      in the room and hear the nurses’ responses and inform Plaintiff. In addition, Plaintiff held

      on to the call button and felt the vibrations when the nurses spoke. When the staff would

      come in, they would not use the iPad. Ms. Cangelosi-Williams and the interpreters

      suggested and arranged for a sign to be put at the Nurse’s Station that they should not

      answer via intercom or enter Plaintiff’s room to interact verbally. Ms. Cangelosi-Williams

      also asked that a notice stating that Plaintiff is deaf be placed on his door. The request was

      denied, allegedly due to HIPAA regulations.

39.   While staying inpatient at Hillcrest, Plaintiff was transferred via ambulance from Hillcrest

      to an appointment with the surgeon, Dr. Lyle, for a post-surgery follow-up appointment.

      The interpreter was not allowed to ride in the ambulance with Plaintiff.

40.   Plaintiff’s delay to Beachwood rehabilitation facility was delayed four (4) days due to lack

      of availability of interpreters, as well as a winter storm. In addition, according to the facility

      administrator, Beachwood’s firewall and engineering problems made Plaintiff’s use of the

      facility or personal iPad impossible. This occurred despite the fact that the liaison, Vanessa




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      LNU, confirmed Plaintiff’s admittance with Beachwood by visiting the week before to

      confirm arrangements.

41.   On or about February 2, 2022, Plaintiff was to be transferred to a rehabilitation facility in

      Beachwood as confirmed previously by Hillcrest’s liaison Vanessa LNU, who went to the

      facility to confirm admission. When Vanessa LNU negotiated arrangements, Plaintiff and

      Ms. Cangelosi-Williams requested the full-time interpreters from Global Patient Services

      or others contracted through the community agencies’ lists from Sorenson

      Communications and Purple. Shortly before the transfer, Defendant CCF told Plaintiff and

      Ms. Cangelosi-Williams that the Beachwood location could not take Plaintiff as they were

      not equipped. The Chief Executive Officer (“CEO”) of Beachwood said that the firewall

      was a problem and a big storm was coming so they could not accommodate Plaintiff. Prior

      to this directive, Ms. Cangelosi-Williams and Vanessa LNU, Hillcrest’s liaison, were en

      route to Beachwood when Vanessa LNU was notified that the facility was not going to

      accept Plaintiff. Plaintiff did not leave Hillcrest on February 1, 2022 as previously

      scheduled. Lack of interpreters should not have been an issue, nor firewall problems.

      Beachwood had ample time to make arrangements.

42.   On or about February 1, 2022, Ms. Cangelosi-Williams spoke with the Case Manager from

      Hillcrest, Courtney Genovese, and Katie LNU, MSW, LISW, during which the VRI

      machine broke again in front of staff. The Euclid rehabilitation facility had been notified

      of Plaintiff’s impending arrival for rehabilitation services. The purpose of the conversation

      with Ms. Genovese was to protest the transfer to Euclid after approval for admission to

      Beachwood after being denied the opportunity to discuss the Beachwood rejection with the

      CEO of Beachwood.



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43.   On or about February 2, 2022, Plaintiff was transferred from Hillcrest to Euclid for

      rehabilitation services. The interpreter was not allowed in Defendant MMT’s ambulance

      during the transport. Plaintiff was required to sign paperwork that he was not under the

      care of Defendant CCF while in the ambulance without an interpreter.

44.   Plaintiff was in the Euclid rehabilitation facility from February 2, 2022 to February 26,

      2022.

45.   When Plaintiff arrived at the Euclid facility on or about February 2, 2022, he was met by

      the Nurse Manager, Renee LNU, who thanked Plaintiff and Ms. Cangelosi-Williams for

      bringing an interpreter. Renee LNU questioned whether the interpreter was related. Ms.

      Cangelosi-Williams indicated that Euclid had been notified of Plaintiff’s arrival and

      insisted that the in-person interpreter be used and/or an iPad, but not the VRI.

46.   During Plaintiff’s stay at Euclid, Plaintiff experienced inconsistent access to in-person

      interpreters, VRI issues despite Plaintiff and Ms. Cangelosi-Williams prior notification to

      Euclid that Plaintiff wanted in-person interpreters or interpreters on the iPad. Ms.

      Cangelosi-Williams and Plaintiff’s daughter had to interpret multiple times while Plaintiff

      was at Euclid.

47.   On or about February 3, 2022, Plaintiff had to use the VRI even though he previously told

      Euclid he wanted in-person interpreters or the iPad when Plaintiff was almost fainting due

      to low blood pressure.

48.   On or about February 4, 2022, staff took out and reinserted foley catheter without any

      communication. No interpreter or auxiliary aid was used.

49.   On or about February 19, 2022, Joe Scaminace, Physician Assistant, tried twice to use the

      iPad when communicating with Plaintiff, but the technology failed. PA Scaminace entered



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      the room without announcing himself to Plaintiff while Plaintiff was sleeping, awakening

      and frightening Plaintiff. Plaintiff contacted Ms. Cangelosi-Williams the next morning to

      say how frightened he was. Ms. Cangelosi-Williams complained to supervisory nursing

      staff to investigate.

50.   On or about February 19, 2022 at approximately 8:30 p.m., Nurse Blanche LNU tried to

      talk with Plaintiff even though he is deaf. Nurse Blanche LNU did not know how to use

      the iPad. Ms. Cangelosi-Williams attempted to instruct Nurse Blanche LNU regarding the

      use of the iPad, to no avail. The interpreter on-call at Global Patient Services also tried to

      instruct Nurse Blanche LNU on the use of the iPad to no avail. Ms. Cangelosi-Williams

      called the on-call interpreter at Global Patient Services and she was unable to connect with

      other nursing staff at Euclid.

51.   Plaintiff met with Renee Ely, Nurse Manager at Euclid, on the day of discharge on or about

      February 26, 2022 and asked that he document everything that transpired during his stay.

      Mr. Ely agreed to do so.

52.   Beginning on or about February 26, 2022 and continuing to the present, Plaintiff has had

      issues with home care, especially regarding scheduling for home care appointments. The

      Physical Therapy scheduling system is set up so the therapists and nurses never know prior

      to the day before an appointment. This has created a myriad of episodes of scheduling

      difficulties related to the lack of in-person interpreters. Consequently, Ms. Cangelosi-

      Williams is forced to interpret just to address the urgent medical needs of Plaintiff.

53.   On April 19, 2022, Plaintiff went to Defendant CCF’s emergency department at its main

      campus. Ms. Cangelosi-Williams called the emergency department prior to departing to

      advise them of Plaintiff’s arrival in fifteen (15) minutes and to request that the emergency



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      department contact Global Patient Services to schedule an in-person interpreter or have the

      VRI up and running, at the very least. The person at the front desk said to just “come and

      wait.” Ms. Cangelosi-Williams immediately called the Global Patient Services

      Coordinator, Glendia Boone, to inquire about interpreter availability. Ms. Boone informed

      Ms. Cangelosi-Williams that all of the interpreters were busy assisting other patients. When

      Plaintiff arrived at the emergency department, the VRI was used, only to have it

      malfunction. Another VRI unit was obtained and the appointment continued.

54.   On or about May 16, 2022, there was no interpreter for a home visit for Plaintiff’s catheter

      change. The nurse asked Plaintiff if he wanted to have an interpreter virtually, but Plaintiff

      declined as he would not be able to see what was being said on the screen while lying on

      the recliner couch for his catheter change.

55.   Plaintiff had an appointment with Jefferson LNU from Home Care Services on or about

      Monday, March 28, 2022. Before Jefferson left, he checked the schedule and confirmed

      the appointment scheduled on or about Wednesday, March 30, 2022, would be at 12:30

      p.m. with Pi Yau Yun, Supervisor, who would conduct an assessment, which is usually

      done every three to four weeks. The interpreter did not arrive at the scheduled appointment

      time of 12:30 p.m. Ms. Cangelosi-Williams contacted Ms. Boon, who told her that she

      received a request to start at 1:00 p.m., not 12:30 p.m. When the interpreter arrived, she

      indicated that she received a text message at 2:00 a.m. from the contract agency asking to

      come at 1:00 p.m., and then another text at 4:00 a.m. to confirm.

56.   As Ms. Yun and other have explained, the interpreters’ schedules are not set until the day

      before the appointment, and even then, the schedules are subject to change somewhat

      depending on how the previous appointment before Plaintiff’s goes.



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57.   On or about June 3, 2022, Plaintiff was admitted to Defendant CCF’s main hospital. Ms.

      Cangelosi-Williams telephoned the emergency department and asked to have an in-person

      interpreter available when she and Plaintiff arrived. The Nurse Louise LNU and an EMT

      Technician met Plaintiff in the triage area. Louise LNU and the EMT Technician knew

      how to use the VRI. Bethany LNU, an interpreter from Global Patient Services, was called

      and arrived approximately one hour later to continue interpreting. Bethany LNU

      accompanied Plaintiff to his hospital room when he was admitted. By this time, it was

      approximately 11:30 p.m. Because it was so late, Bethany LNU was going to leave, but

      Nurse Luisa LNU set up the VRI to continue interpreting. After Bethany LNU left, the VRI

      disconnected. Luisa LNU attempted to obtain the floor iPad to interpret, but the iPad was

      locked up for the night and could not be used. Ms. Cangelosi-Williams finished interpreting

      for Plaintiff for the night.

58.   On June 5, 2022, Physical Therapist Matt Shultz was in Plaintiff’s room when Ms.

      Cangelosi-Williams arrived at 10:00 a.m. The VRI was not working and there was no iPad.

      Mr. Shultz said he would document that the VRI was not working and that there was no

      iPad. A nurse finally brought an iPad into Plaintiff’s room.

59.   During a June 6, 2022 discussion, plans were made for the transfer of Plaintiff from

      Defendant CCF’s main hospital to one of Defendant CCF’s rehabilitation inpatient facility.

      Plaintiff and Ms. Cangelosi-Williams asked the rehabilitation facility to provide in-person

      interpreters, not VRI. Initially, the request was denied.

60.   The physical therapist, occupational therapist, and in-house internal medicine doctor

      documented that they strongly recommended in-person ASL interpreting services. Plaintiff

      and Ms. Cangelosi-Williams also met with Case Manager Tony Oliverio, who contacted



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      the rehabilitation liaison, Tracy Orsic. Plaintiff and Ms. Cangelosi-Williams then met with

      Ms. Orsic.

61.   Plaintiff and Ms. Cangelosi-Williams explained why inpatient interpreters were the most

      effective and safe way for Plaintiff to engage in physical therapy and occupational therapy.

      Plaintiff and Ms. Cangelosi-Williams explained that Plaintiff is ninety-one (91) years old,

      has age-related macular degeneration, arthritis and a recent below-the-knee amputation.

      Plaintiff’s posture is not conducive to watching a video relay interpreter on a small iPad

      attached to a pole or using a handheld iPad while in motion.

62.   Plaintiff and Ms. Cangelosi-Williams’ request for in-person interpreters was initially

      denied by Ms. Orsic. Ms. Cangelosi-Williams then spoke with CEO Roger Richter about

      the necessity of having in-person interpreters citing the same reasons.

63.   Ms. Cangelosi-Williams asked Ms. Orsic to speak with the facility’s legal counsel. After

      that, Ms. Orsic agreed to limited in-person interpreters from 10:00 a.m. to 2:30 p.m.

64.   Ms. Orsic informed Plaintiff and Ms. Cangelosi-Williams that she spoke with CEO Roger

      Richter and they were supposed to contact him with any questions.

65.   On or about June 7, 2022, Dr. Kamali, would not use an interpreter to communicate with

      Plaintiff. Instead, Dr. Kamali would only communicate in writing with Plaintiff.

66.   On or about June 9, 2022, Plaintiff was transferred from Defendant CCF’s main campus to

      inpatient rehabilitation at Defendant Rehabilitation Hospital at Beachwood.

67.   During the first contact at Defendant Rehabilitation Hospital, Beachwood, by the aide did

      not know how to use VRI.

68.   During the day shift on or about June 10, 2022, Nutritionist Maria LNU did not know how

      to use the VRI so Ms. Cangelosi-Williams demonstrated how to use it.



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69.   On or about June 10, 2022, Carolyn Dixon, Nurse Practitioner, Internal Medicine, from

      Internal Medicine conducted an evaluation of Plaintiff, but she did not use an interpreter.

      Instead, Ms. Dixon would only communicate in writing with Plaintiff.

70.   During the night shift on or about June 10, 2022, an aide, Pamela LNU and Nurse Steve

      LNU did not know how to use the VRI. After Ms. Cangelosi-Williams showed them how

      to use the VRI, there was no ASL interpreter. Plaintiff had to wait for the VRI service to

      return the call.

71.   On or about June 14, 2022, Ms. Dixon from Internal Medicine did not use an interpreter.

      Instead, Ms. Dixon only communicated in writing with Plaintiff.

72.   On or about June 19, 2022, the doctor tried to use VRI, but there was no connection.

73.   On or about June 20, 2022, Nurse Kelly LNU entered Plaintiff’s room with a mask on and

      began talking to Plaintiff. Ms. Cangelosi-Williams asked Kelly LNU if she knew how to

      use the VRI, which was next to Plaintiff’s bed. Kelly LNU said she heard something about

      the VRI that morning, but Kelly LNU continued to verbally speak with Plaintiff to

      communicate. Ms. Cangelosi-Williams told Kelly LNU that Plaintiff did not understand

      one word she said and referred Kelly LNU to the sign above Plaintiff’s head indicating that

      Plaintiff did not read lips and to use an interpreter. Next, Kelly LNU approached Plaintiff,

      took off her mask and continued to speak with Plaintiff.

74.   On or about June 22, 2022, Dr Ashraf, Internal Medicine, who had been instructed by the

      Nursing Supervisor to use interpreting services for Plaintiff, did not use interpreters. First,

      Dr. Ashraf verbally spoke with Plaintiff. Next, even after being told to use interpreting

      services by Emily LNU, Supervisor, again, he tried to sign two (2) words, “pain” and

      “cold.” The signs were not complete sentences and not grammatically correct so the



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      meaning was not conveyed. The third time, Dr. Ashraf simply walked into Plaintiff’s room

      and threw a card on Plaintiff’s tray table and left. The card was Dr. Ashraf’s business card,

      which also had Ms. Dixon’s name on it.

75.   During or about the last week of June, 2022, a nurse from Human Resources came in

      Plaintiff’s room to conduct a survey. Ms. Cangelosi-Williams asked to use an interpreter.

      No interpreter was scheduled for that day even though Plaintiff was being discharged the

      next day. In order to facilitate the discharge, Ms. Cangelosi-Williams was required to

      interpret for Plaintiff.

76.   On or about July 9, 2022, Plaintiff went to Defendant CCF’s main campus emergency

      department at approximately 3:00 a.m. VRI was secured beginning with triage, but once

      the VRI was connected, Plaintiff was informed there were no interpreters available. Tiffany

      LNU, Triage Nurse, attempted several times to get an interpreter on screen without success.

      In the examining room, this continued to happen for approximately one hour when

      Defendant CCF’s staff interpreter, Shellie Henskey, showed up. If an iPad had been

      available, the staff interpreter could have interpreted from home, instead of driving forty-

      five (45) minutes into the emergency department. The interpreter explained that had an

      iPad been available, it could have been used to the Nurse Manager, Alex LNU. The

      discharge summary did not reflect the problems Plaintiff had with the VRI and lack of an

      iPad as Ms. Cangelosi-Williams requested to be documented.

77.   On or about July 16, 2022, Plaintiff had x-rays taken at the radiology department. The staff

      person in radiology was unfamiliar with the VRI unit. Ms. Cangelosi-Williams had to tell

      the front desk person that she and Plaintiff brought it from the lab. Upon meeting Plaintiff,

      the technician said that he did not need an interpreter because she was just going to take



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      three simple pictures. The technician was also unfamiliar with the VRI machine, and Ms.

      Cangelosi-Williams insisted she use it and provided her with instructions to do so. The

      circumstances again required that Ms. Cangelosi-Williams interpret for Plaintiff so that he

      could understand the medical treatment.

78.   On or about October 7, 2022, Ms. Cangelosi-Williams contacted the scheduling department

      for Defendant CCF’s radiology department at the Risman Center at approximately 1:00

      p.m. and secured a 2:30 p.m. appointment for Plaintiff. After several attempts, Ms.

      Cangelosi-Williams was able to speak with someone at the front desk of the radiology

      department to request the VRI machine be available and ready when she and Plaintiff

      arrived. Plaintiff and Ms. Cangelosi-Williams were willing to use a VRI instead of an in-

      person interpreter given the short turnaround for the appointment. The representative

      assured Ms. Cangelosi-Williams that he knew where the VRI was located and would have

      it ready. Ms. Cangelosi-Williams asked the front desk person where it was located since

      she and Plaintiff encountered a problem with the VRI the last time they were in that

      department. The representative refused to provide an answer.

79.   When Plaintiff and Ms. Cangelosi-Williams arrived, there were two female representatives

      and one male representative at the desk. Ms. Cangelosi-Williams asked if the VRI unit was

      there. No one seemed to even know what the VRI was. By that time, the technician arrived

      in the waiting room and called for Plaintiff. The technician and her coworker were not

      informed of the need for the VRI and did not know how to use it. Ms. Cangelosi-Williams

      explained what was needed in the presence of the three representatives who were seated at

      the desk. One of the female receptionists said she knew where it was and could show her

      how.



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80.   When Plaintiff and Ms. Cangelosi-Williams entered the radiology room, the interpreter did

      not appear on the VRI machine. Given the circumstances, Ms. Cangelosi-Williams was

      again required to interpret for Plaintiff.

         COUNT I: Violations of Title III of the Americans with Disabilities Act,
                                  42 U.S.C. § 12182

81.   Plaintiff reincorporates, as if fully realleged herein, the foregoing paragraphs of the

      Complaint.

82.   Plaintiff, who is profoundly deaf, has a disability as defined by the ADA.

83.   Defendants are places of public accommodation covered by Title III of the ADA.

84.   Defendants repeatedly received notice that Plaintiff is deaf and needed an accommodation.

85.   Defendants discriminated against Plaintiff by refusing his full and equal enjoyment of their

      goods, services, facilities, privileges, advantages, or accommodations because he is deaf.

      Plaintiff has been denied the same opportunities that are readily available to hearing

      persons to receive information, ask questions, and make informed medical treatment

      decisions.

86.   Plaintiff needed a qualified ASL interpreter to ensure that Defendants did not deny him

      services or otherwise treat him differently than other individuals because of his disability.

87.   At all times relevant hereto, Defendants had an ongoing obligation to furnish auxiliary aids

      and services where necessary to ensure effective communication with individuals with

      disabilities and their companions.

88.   On numerous of Plaintiff’s visits at Defendants’ facilities, Defendants failed to provide him

      with an ASL interpreter or any other auxiliary aid or service to ensure effective

      communication with Plaintiff and Ms. Cangelosi-Williams during Plaintiff’s medical

      treatment

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89.   With their resources, Defendants are able provide patients and companions who are deaf

      or have hearing loss with qualified in-person interpreters without taking on an undue

      burden.

90.   Plaintiff continues to receive medical care from Defendants, and he intends to remain a

      patient of Defendants to maintain continuity of care. Failing to provide Plaintiff an

      interpreter at future appointments will create a likelihood that he will suffer a substantial

      and irreparable injury.

91.   Based on Defendants’ record of repeatedly denying Plaintiff interpretation services that

      would ensure effective meaningful communication for Plaintiff to understand and make

      proper medical decisions for himself, it is reasonably foreseeable that Defendants will

      continue their failure to provide an ASL interpreter for Plaintiff’s future appointments.

                COUNT II: Violation of Section 504 of the Rehabilitation Act,
                                     29 U.S.C. § 794

92.   Plaintiff reincorporates, as if fully realleged herein, the foregoing paragraphs of the

      Complaint.

93.   Defendants are principally engaged in the business of providing health care.

94.   At all relevant times, Defendants have received federal financial assistance and is, thus,

      subject to Section 504 of the Rehabilitation Act.

95.   Plaintiff, who is profoundly deaf, has a disability as defined by the Rehabilitation Act.

96.   Disability aside, Plaintiff was, and is, otherwise qualified to receive health care services

      from Defendants.

97.   Because of Plaintiff’s disability, Defendants denied him benefits of its health care services.

      The services Defendants provided to Plaintiff were not the same or substantially similar as

      the services it provides to hearing individuals.

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98.    Defendants did not provide Plaintiff with the auxiliary aids necessary to afford him an

       equal opportunity to benefit from Defendants’ health care services.

99.    Defendants acted with deliberate indifference in denying Plaintiff the full benefit of their

       services.

100.   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has suffered

       and will continue to suffer economic and noneconomic damages for which Defendants are

       liable, including but not limited to pain and suffering, emotional distress, mental anguish,

       and expenses incurred for his medical care and attention.

                    COUNT III: Violations of Revised Code Chapter 4112,
                                     R.C. 4112.02(G)

101.   Plaintiff reincorporates, as if fully realleged herein, the foregoing paragraphs of the

       Complaint.

102.   Plaintiff, who is profoundly deaf, has a disability as defined by R.C. Chapter 4112.

103.   Defendants are places of public accommodation covered by R.C. Chapter 4112.

104.   Defendants repeatedly received notice that Plaintiff is deaf.

105.   Defendants discriminated against Plaintiff by refusing his full and equal enjoyment of their

       goods, services, facilities, privileges, advantages, or accommodations because he is deaf.

       Plaintiff has been denied the same opportunities that are readily available to hearing

       persons to receive information, ask questions, and make informed medical treatment

       decisions.

106.   Plaintiff needed a qualified ASL interpreter to ensure that he understood the medical

       diagnosis and treatment at the time. Defendants denied him services or otherwise treat him

       differently than other individuals because of his disability.




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107.     Defendants have an ongoing obligation to furnish auxiliary aids and services where

         necessary to ensure effective communication with individuals with disabilities and their

         companions.

108.     On numerous of Plaintiff’s visits at Defendants’ facilities, Defendants failed to provide him

         with an ASL interpreter or any other auxiliary aid or service to ensure effective

         communication with Plaintiff and Ms. Cangelosi-Williams.

109.     With their resources, Defendants can provide patients and companions who are deaf or

         have hearing loss with qualified in-person interpreters without taking on an undue burden.

110.     Plaintiff continues to receive medical care from Defendants, and he intends to remain a

         patient of Defendants to ensure continuity of care. Failing to provide Plaintiff an interpreter

         at future appointments will cause Plaintiff to suffer a substantial and irreparable injury.

111.     Based on Defendants’ record of repeatedly denying Plaintiff interpretation services that

         would ensure effective communication, it is reasonably foreseeable that Defendants will

         continue their failure to provide an ASL interpreter for Plaintiff’s future appointments.

                                      PRAYER FOR RELIEF

         For the reasons stated above, Plaintiff respectfully requests the following relief from the

Court:

         a.     Declare that Defendants’ acts and conduct constitute violations of federal and state

                law;

         b.     Order Defendants to develop, implement, and comply with a policy prohibiting

                future failures to provide appropriate auxiliary aids and services, including

                qualified ASL interpreters, free of charge to individuals who are deaf or have

                hearing loss, where necessary to ensure effective communication;



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c.    Order Defendants to develop, implement, and comply with a policy requiring that

      when individuals who are deaf or have hearing loss request an onsite interpreter,

      one will be provided as soon as practicable in all services offered by Defendants;

d.    Order Defendants to contractually require all ASL interpreters at its facilities to

      adhere to the Code of Professional Conduct jointly developed by the National

      Association of the Deaf and the Registry of Interpreters for the Deaf, Inc.;

e.    Order Defendants to ensure that least one qualified ASL interpreter is available at

      all times for a patient who is deaf or has hearing loss and whose primary means of

      communication is ASL;

f.    Order Defendants to continually evaluate and review the performance of all ASL

      interpreters at its facilities to ensure that all interpreters used by Defendants are

      qualified;

g.    Order Defendants to develop, implement, and comply with a policy to ensure that

      Defendants will notify individuals who are deaf or have hearing loss of their right

      to effective communication, including conspicuously posting and maintaining the

      following notice in the lobbies of its facilities and wherever a Patients’ Bill of

      Rights is required by law to be posted:

      “In compliance with the Americans with Disabilities Act, qualified interpreters and
      other auxiliary aids and services are available free of charge to people who are deaf
      or have hearing loss.”

h.    Order Defendants with regard to Video Remote Interpreting (“VRI”):

      i.     to develop, implement, and comply with a policy ensuring that deaf or hard-

             of-hearing patients are able to communicate through an in-person

             interpreter whenever possible;



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      ii.    to develop, implement, and comply with a policy to ensure that VRI, when

             used, has a high-speed Internet connection; a video screen with appropriate

             size, position, capture angle, focus, and proximity to the patient; and

             appropriate audio quality. The policy should require that the VRI equipment

             be portable so it can be moved to a patient’s location, preferably in a private

             room to minimize distractions and maintain confidentiality;

      iii.   to regularly train its employees, staff, and other agents about Defendants’

             VRI policies, including training on how to set up VRI systems and how to

             obtain technical assistance when a system malfunctions;

      iv.    to provide proper and regular maintenance on all VRI equipment and

             documented in a maintenance log;

i.    Order Defendants to create and maintain a log of each request for an auxiliary aid

      or service;

j.    Order Defendants to annual Americans with Disabilities Act training regarding

      proper and lawful communications with Deaf and Hard of Hearing patients during

      medical care to its employees and other staff addressing the following:

      i.     the degrees of hearing impairment;

      ii.    the required charting procedures governing requests for auxiliary aids and

             services;

      iii.   types of auxiliary aids and services available at Defendants;

      iv.    proper use and role of qualified interpreters; and

      v.     procedures for scheduling a qualified ASL interpreter as quickly as

             practicable when necessary;



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        vi.     proper maintenance of VRI equipment;

k.      Enter judgment in Plaintiff’s favor for all claims for relief;

l.      Award Plaintiff full compensatory damages, economic and noneconomic, including

        but not limited to damages for pain and suffering, mental anguish, emotional

        distress, humiliation, and inconvenience that Plaintiff has suffered and is

        reasonably certain to suffer in the future;

m.      Award pre-judgment and post-judgment interest at the highest lawful rate;

n.      Award Plaintiff reasonable attorneys’ fees and all other costs of this lawsuit,

        including expert fees;

o.      Award all other relief in law or equity to which Plaintiff is entitled and that the

        Court deems equitable, just, or proper.

                                         Respectfully Submitted,

                                         s/Laren E. Knoll
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                                         Email: lknoll@knolllaw.com
                                         Trial Attorney for Plaintiff Charles Williams



                                  JURY DEMAND

Plaintiff requests a trial by a jury on all issues set forth herein.

                                         s/Laren E. Knoll
                                         Laren E. Knoll (0070594)
                                         The Knoll Law Firm, LLC
                                         Trial Attorney for Plaintiff Charles Williams




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